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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS

GE HFS HOLDINGS, INC., f/k/a                 )
HELLER HEALTHCARE FINANCE,                   )
INC.,                                        )
                                             )
              Plaintiff,                     )
                                             )
And                                          )
                                             )
MICHAEL INGOLDSBY,                           )
                                             )
              Intervenor/Plaintiff,          )
                                             )
       v.                                    )                 Civil Action No. 05-CV-11128-NG
                                             )
NATIONAL UNION FIRE                          )
INSURANCE COMPANY OF                         )
PITTSBURGH, PA., and                         )
INTERNATIONAL INSURANCE                      )
GROUP, LTD.,                                 )
                                             )
              Defendants.                    )

        STATEMENT OF UNDISPUTED MATERIAL FACTS SUBMITTED BY
         DEFENDANT NATIONAL UNION FIRE INSURANCE COMPANY OF
         PITTSBURGH, PA. IN SUPPORT OF ITS MOTION FOR SUMMARY
      JUDGMENT AGAINST INTERVENOR-PLAINTIFF MICHAEL INGOLDSBY

       Pursuant to Local Rule 56.1 of the United States District Court for the District of

Massachusetts, Defendant National Union Fire Insurance Company of Pittsburgh, PA.

(“NUFIC”) submits the following Statement of Undisputed Material Facts in Support of its

Motion for Summary Judgment Against Intervenor-Plaintiff Michael Ingoldsby (“Ingoldsby”).

                                       A.        The Parties

       1.     Intervenor-Plaintiff Ingoldsby is an individual who resides at 1863 San Silvestro

Drive, Venice, Florida. (Ingoldsby’s First Amended Complaint in Intervention (“Compl.”) at ¶

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           2.   Defendant NUFIC is an insurance company with its principal place of business at

175 Water Street, New York, New York. (Id. at ¶ 2). NUFIC is licensed to provide insurance in

Massachusetts. (Id.).

                                B.      Undisputed Material Facts

                               1.      The D&O Insurance Policy

           3.   Managed Health Care Systems, Inc. (“MHCS”) was, at all times relevant hereto, a

Massachusetts corporation with its principal place of business in Hingham, Massachusetts. (Id.

at ¶ 1).

           4.   MHCS was a provider of health care services to Medicare beneficiaries in

Massachusetts’ South Shore and Cape Cod areas.        (Complaint in Heller Healthcare Finance,

Inc. v. Michael Lee Ingoldsby, Pamela Jones and Indy Edwards, Civil Action No. 02-11553-NG

(the “Heller Lit. Compl.”), attached hereto as Exhibit 1, at ¶ 9,).

           5.   Ingoldsby was, at all times relevant hereto, the Chairman of the Board of MHCS.

(Compl. at ¶ 1).

           6.   On or about February 23, 2001, MHCS filed a voluntary petition for relief under

Chapter 11 of Title 11 of the United States Code in the United States Bankruptcy Court for the

District of Massachusetts. (Affidavit of Counsel in Support of NUFIC’s Motion for Summary

Judgment (“Aff.”) at ¶ 6 and Ex. E).

           7.   NUFIC issued to MHCS a Directors & Officers Insurance Policy bearing a policy

number 873-87-52, effective August 4, 2001 to August 4, 2002 (the “Policy”). (Compl. at ¶ 6;

Ingoldsby’s Response to NUFIC’s Request for Admissions (“Ingoldsby’s Response”), attached

hereto as Exhibit 2, at No. 1). At the time NUFIC issued the Policy, MHCS was in Chapter 11

bankruptcy reorganization. (Ingoldsby’s Response at No. 14, Exhibit 2).




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        8.      According to Exclusion 4(h) of the Policy, coverage was excluded for any claim:

        (h) alleging, arising out of, based upon or attributable to any actual or alleged
        contractual liability of the Company or an Insured under any express (written or
        oral) contract or agreement . . .

(Aff. at ¶ 2 and Ex. A (under “For-Profit Health Care Organization Amendatory
Endorsement,” § II)).

        9.     MHCS was informed of the Policy’s Exclusion 4(h) by means of a fax

communication to MHCS Vice President of Finance and Chief Financial Officer Pamela Jones

(“Jones”) from Nicholas Sciotto of International Insurance Group, Ltd. (“IIG”), MHCS’

insurance broker, dated July 31, 2001. (Aff. at ¶ 2 and Ex. A).

        10.    In that fax communication, IIG forwarded to MHCS NUFIC’s proposed terms for

the Policy, including the explicit language of the contractual liability exclusion under Exclusion

4(h). (Id.).

        11.    The Policy, under which Ingoldsby was insured, was subsequently issued to

MHCS by NUFIC. (Compl. at ¶ 6; Ingoldsby’s Response at No. 1, Exhibit 2).

                              2.      MHCS Borrows from Heller

        12.    Heller Healthcare Finance, Inc. (“Heller”) was a pre-petition lender to MHCS on

a number of loans, including one pursuant to a Loan and Security Agreement dated August 4,

2000, which secured a Revolving Credit Note in the maximum amount of $3,000,000. (Heller

Lit. Compl. at ¶ 17, Exhibit 1).

        13.     Post-petition, on February 28, 2001, Heller, as lender, and MHCS entered into a

$3,000,000 Revolving Credit Loan (the “DIP Loan”), which refinanced the pre-petition

Revolving Credit Note. (Id. at ¶ 18). The DIP Loan was evidenced by a Debtor-in-Possession

Loan and Security Agreement (the “DIP Loan Agreement”). (Id.). The Bankruptcy Court




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approved the DIP Loan at an interim hearing held March 1, 2001, with a final order entered on

March 29, 2001. (Id.).

          14.     Ingoldsby personally guaranteed the obligations of MHCS under the DIP Loan

Agreement. (Id. at ¶ 19).

          15.     According to the terms of the DIP Loan Agreement, MHCS was obligated to

“keep accurate and complete records of its accounts and all payments and collections thereon,

and [to] submit to Lender on such periodic basis as Lender will request a sales and collections

report . . . .” (Id. at ¶ 22).

          16.     Under the terms of the DIP Loan, MHCS, Ingoldsby, Jones, and MHCS President

and Chief Operating Officer Indy Edwards (“Edwards”) were obligated to prepare Borrowing

Base Certificates that represented the eligible Medicaid, Medicare and other receivables of

MHCS. (Id. at ¶ 23).

          17.    Heller loaned money to MHCS under the DIP Loan based upon the level of

receivables MHCS reported to Heller on the periodic Borrowing Base Certificates, which were

signed by Jones and Edwards. (Id. at ¶ 25).

          18.    The Borrowing Base Certificates specified that they were “given to the Lender

[Heller] in order to induce the Lender … to make an advance to the Borrower in the principle

[sic] amount of … pursuant to the terms and conditions of the Loan Agreement.” (Aff. at ¶ 8 and

Ex. G).

          19.    According to Heller, the Borrowing Base Certificates were “supplied to Heller

with the intent, knowledge, and expectation that Heller would rely on the level of eligible

receivable collateral reported therein in determining whether, and to what extent, Heller would

re-advance the collections it received back to MHCS[.]” (Heller Lit. Compl. at ¶ 25, Exhibit 1) .




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       20.     Heller also stated that it “reasonably relied on the accuracy of the Borrowing Base

Certificates submitted by MHCS in connection with the DIP Loan[.]” (Id. at ¶ 28).

       21.     Heller also has asserted that MHCS owed duties to prepare any Borrowing Base

Certificates submitted by MHCS in a manner that currently reported its Medicare receivables,

since such receivables formed the basis of funding provided under the DIP Loan. (Id. at ¶ 23).

                                 3.      Heller Sues Ingoldsby

       22.     Heller claimed that in January of 2002, it discovered through an audit of MHCS’

financial statements and bankruptcy filings that MHCS had failed to accurately track and report

to Heller MHCS’ Medicare receivables. (Id. at ¶ 42). Heller alleged that these errors resulted in

an overstatement of MHCS’ eligible receivables against which Heller loaned monies to MHCS

under the DIP Loan Agreement. (Id. at ¶¶ 37, 42). Heller further alleged that, on account of the

overstatements, it loaned MHCS approximately $400,000 more under the DIP Loan than it

would have advanced had the accounts receivable in the Borrowing Base Certificates been

properly stated. (Id. at ¶ 37). Moreover, Heller alleged that MHCS was indebted to it under the

DIP Loan in the amount of $1,330,243.07. (Id. at ¶ 50).

       23.     After Heller claimed to have realized the full extent of MHCS’ overstatements

and misstatements with respect to its accounts receivable, MHCS converted its bankruptcy

reorganization to a Chapter 7 liquidation proceeding on March 20, 2002. (Id. at ¶¶ 48, 53).

       24.     Heller then brought suit against Ingoldsby, Jones, and Edwards on August 1,

2002. (Compl. at ¶ 20).

       25.     Heller asserted two claims against Ingoldsby: the first for negligent

misrepresentation, alleging that Ingoldsby supplied false information to Heller regarding the

borrowing base of the eligible accounts and receivables of MHCS; the second breach for




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guaranty, alleging that Ingoldsby personally guaranteed the DIP Loan and was therefore directly

liable for all moneys due to Heller pursuant to the DIP Loan Agreement. (Heller Lit. Compl. at

¶¶ 54-59, Exhibit 1).

        26.     Ingoldsby provided NUFIC notice of the suit. (Compl. at ¶ 21).

        27.     Through letters dated October 11, 2002 and March 6, 2003, NUFIC denied

coverage for the litigation and the associated defense costs on account of the Policy’s contractual

liability exclusion. (Id. at ¶¶ 23-25).

        28.     After NUFIC denied coverage for Heller’s claims against Ingoldsby, he provided

his own defense in the Heller Litigation (Id. at ¶¶ 35-36).

        29.     On March 25, 2002, Heller and MHCS entered into a settlement agreement,

which was approved by the bankruptcy court on March 27, 2002 (the “Settlement Agreement”).

(Aff. at ¶ 7 and Ex. F; Aff. at ¶ 6 and Ex. E). The Settlement Agreement contained the following

provision:

               Heller further, at the Effective Time [i.e., entry of the Bankruptcy Court
        order approving the Settlement Agreement] hereby releases any claims it may
        have arising on or before the date hereof against the Debtors' [Managed Health
        Care Systems, Inc., and Medical Temporaries, Inc.] professionals, agents and
        employees provided, however, that this release from Heller does not include and
        Heller does not waive or release either the Debtors or any officer, director,
        employee or agent of either Debtor from any legal or equitable claims Heller may
        have or from any damages suffered by Heller arising from the default under the
        DIP Loan Agreement which created the over-advance of approximately $405,000,
        which was referred to in Heller's Notice of Event of Default.

(Aff. at ¶ 7 and Ex. F) (emphasis added).




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                               4.     Ingoldsby Declares Bankruptcy

       30.        Ingoldsby filed for bankruptcy under Chapter 7 in the United States Bankruptcy

Court for the Middle District of Florida on December 13, 2002. (Ingoldsby’s Response at No.

34, Exhibit 2).

       31.        On January 2, 2003, Ingoldsby filed his Schedules and his Statement of Financial

Affairs as required by 11 U.S.C. § 521. (Id. at No. 35; Aff. at ¶ 3 and Ex. B).

       32.        Ingoldsby stated in his Statement of Financial Affairs that he was a defendant in

the Heller Litigation. (Ingoldsby’s Response at No. 36, Exhibit 2; Aff. at ¶ 3 and Ex. B).

However, where Ingoldsby was required to disclose in his Schedule B any “[o]ther contingent

and unliquidated claims of every nature,” which would have included any claims against NUFIC,

Ingoldsby stated “None.” (Ingoldsby’s Response at No. 38, Exhibit 2; Aff. at ¶ 3 and Ex. B).

       33.        On April 18, 2003, Ingoldsby gave notice of filing the original signatures of his

Schedules and Statement of Financial Affairs, and again failed to disclose any claim against

NUFIC. (Aff. at ¶ 4 and Ex. C).




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       34.    On May 5, 2004, Ingoldsby was issued a discharge in bankruptcy. (Aff. at ¶ 5

and Ex. D).

                                           NATIONAL UNION FIRE INSURANCE
                                           COMPANY OF PITTSBURGH, PA

                                           By its attorneys,

Dated: June 27, 2006                       /s/ Joey H. Lee
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                                           Mary Patricia Cormier (BBO# 635756)
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